     Case 3:25-cv-00014   Document 1      Filed on 01/19/25 in TXSD   Page 1 of 22




                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION
                              Case No. 3:25-cv-14


FEDERATION OF EMPLOYERS AND
WORKERS OF AMERICA;

NATIONAL ASSOCIATION OF
LANDSCAPE PROFESSIONALS;

SEASONAL EMPLOYMENT
ALLIANCE;

OUTDOOR AMUSEMENT BUSINESS
ASSOCIATION;

NATIONAL COUNCIL OF
AGRICULTURAL EMPLOYERS,

     Plaintiffs,

v.

ALEJANDRO N. MAYORKAS, in his
official capacity as Secretary of the
United States Department of Homeland
Security; UNITED STATES
DEPARTMENT OF HOMELAND
SECURITY;

UR MENDOZA JADDOU, in her
official capacity as Director of United
States Citizenship and Immigration
Services; UNITED STATES
CITIZENSHIP AND IMMIGRATION
SERVICES,

     Defendants.

______________________________________________________________________________
        COMPLAINT FOR VACATUR AND DECLARATORY RELIEF
 ____________________________________________________________________________
    Case 3:25-cv-00014     Document 1     Filed on 01/19/25 in TXSD      Page 2 of 22




                                  INTRODUCTION

      1.     On September 20, 2023, the United States Department of Homeland

Security (“DHS”) published a proposed rule entitled Modernizing H-2 Program

Requirements, Oversight, and Worker Protections, 88 Fed. Reg. 65040 (Sept. 20, 2023).

DHS received 1,944 public comments on the proposed rule.             Plaintiffs National

Association of Landscape Professionals (“NALP”), Outdoor Amusement Business

Association (“OABA”), and National Council of Agricultural Employers (“NCAE”)

submitted their own comments. 1

      2.     On December 18, 2024, DHS finalized and published its proposed rule,

with minimal explanation of alleged statutory authority, Modernizing H-2 Program

Requirements, Oversight, and Worker Protections, 89 Fed. Reg. 103202, 103203 (Dec.

18, 2024) (hereinafter “Final Rule”). The Final Rule has minimal differences from

the proposed rule and includes vague explanations of and responses to the provisions

as to which Plaintiffs commented on during the comment period.

      3.     The Final Rule is a blacklisting rule. It purports to create strict liability

for employers who use the H-2 visa programs. Under it, DHS will deny employers H-

2 petition processing if any “illegal” fee is paid by an H-2 worker they seek to sponsor.

This includes fees over which employers have no control or even awareness, such as




1 See NALP, Comment Letter on Proposed Rule (Nov. 20, 2023), https://www.
regulations.gov/comment/USCIS-2023-0012-190; OABA, Comment Letter on
Proposed Rule (Nov. 20, 2023), https://www.regulations.gov/comment/USCIS-2023-
0012-1907; NCAE, Comment Letter on Proposed Rule (Nov. 19, 2023),
https://www.regulations.gov/comment/USCIS-2023-0012-1874.
                                           1
   Case 3:25-cv-00014     Document 1     Filed on 01/19/25 in TXSD    Page 3 of 22




those paid to foreign government officials or other third parties outside the United

States for being referred to an H-2 job opportunity.

      4.     In addition, the Final Rule purports to turn DHS into a freestanding

labor law enforcement agency by allowing it to second guess the final determinations

of actual labor law enforcement agencies such as the Department of Labor (“DOL”),

and make its own separate determination to deny the processing of H-2 petitions

when the actual labor law enforcement agency has determined that debarment from

the H-2 visa programs is not necessary. It also allows DHS to rely on administrative

or judicial findings of violations of any federal, state, or local “employment-related

law” to support denial of H-2 petitions without even defining what is a “employment-

related law,” and then using a nebulous non-exclusive test to decide to blacklist.

Further, DHS made this provision of the Final Rule retroactive from the January 17,

2025 effective date by requiring petitioning employers to report on final adjudications

that occurred within three years prior to the effective date.

      5.     The Final Rule is ultra vires, arbitrary and capricious, contrary to

constitutional right, power, privilege, or immunity, and in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.         5 U.S.C. §

706(2)(A)–(C). Any additional rationalization that Defendants may assert through

litigation would be an unlawful post hoc rationalization of the Final Rule.

      6.     The Final Rule also violates the Congressional Review Act because it is

“substantially the same” as a governmentwide blacklisting rule promulgated in the




                                           2
   Case 3:25-cv-00014     Document 1     Filed on 01/19/25 in TXSD    Page 4 of 22




last days of the Obama Administration and subsequently disapproved by Congress in

2017.

                                     PARTIES

        7.   Plaintiff Federation of Employers and Workers of America (“FEWA”) is

a 501(c)(6) nonprofit organization with its principal place of business in Bay City,

Texas, within the Southern District of Texas and its Galveston Division. FEWA’s

mission is to assist employers and workers in labor-intensive service industries by

providing educational and informational services related to cultural, non-immigrant,

and immigrant labor-management issues. FEWA is dedicated to improving business

conditions, building awareness, and providing labor retention and labor management

services to its membership through FEWA filing petitions with the United States

Citizen and Immigration Services (“USCIS”) for its membership, providing training

on compliance with the H-2A and H-2B guest worker visa program, and advocacy on

behalf of its membership with the federal government agencies involved in the H-2A

and H-2B guest worker visa program.        FEWA’s membership is nationwide and

includes members within the Southern District of Texas. As of January 17, 2025,

FEWA and FEWA members are required to comply with the Final Rule including its

attendant compliance cost burden and strict liability for actions occurring within and

without membership or FEWA’s power to control.

        8.   Plaintiff NALP is the national trade organization representing the $151

billion landscape industry in the United States, including its membership in the

Southern District of Texas. NALP is a 501(c)(6) nonprofit headquartered in Fairfax,



                                          3
   Case 3:25-cv-00014    Document 1     Filed on 01/19/25 in TXSD    Page 5 of 22




Virginia and incorporated in Delaware. NALP’s membership specializes in lawn care,

landscape maintenance, tree care, irrigation and water management.           NALP’s

membership is located throughout the nation, and in the Southern District of Texas,

and works daily servicing homes and businesses to maintain their landscapes,

sustain the environment, and take pride in their communities by enhancing and

maintaining healthy green spaces. NALP acts as the principal trade association that

represents the interests of the landscape industry in federal, state and local policy

matters, specifically including the development and implementation of policies that

may impact the landscape industry and its use of the H-2B guest worker visa

program. The landscape industry, and NALP membership, represents approximately

40% of all users of the H-2B guest worker visa program annually, and has a

significant interest in legislative and regulatory matters that impacts NALP

memberships’ ability to access and use the H-2B guest worker visa program. As of

January 17, 2025, NALP members are required to comply with the Final Rule

including its attendant compliance cost burden and strict liability for actions

occurring within and without membership power to control.

      9.     Plaintiff Seasonal Employment Alliance (“SEA”) is the largest H-2B

advocacy organization. SEA is a 501(c)(6) nonprofit headquartered in Charlottsville,

Virginia and incorporated in Washington, D.C. SEA represents over 3,500 small and

seasonal employers across all occupations who use the H-2B visa program as well as

the many H-2B filing agents that represent tens of thousands of H-2B employers

across the nation and throughout the Southern District of Texas. SEA’s primary



                                         4
   Case 3:25-cv-00014     Document 1     Filed on 01/19/25 in TXSD    Page 6 of 22




focus is the application of persistent grassroots advocacy of Congress and the

Administration to improve the reliability of the H-2B program. As of January 17,

2025, SEA members are required to comply with the Final Rule including its

attendant compliance cost burden and strict liability for actions occurring within and

without membership power to control.

      10.    Plaintiff OABA promotes the preservation and growth of the outdoor

amusement industry through leadership, advocacy, and education. OABA is a

501(c)(6) nonprofit headquartered in West Springfield, Massachusetts and

incorporated in Minnesota. OABA is comprised of about 2,500 members throughout

the United States and Canada. The outdoor amusement industry uses the H-2B visa

program and has done so for 20 years, consistently bringing in approximately 9,000

workers annually, with many workers returning year after year.            OABA has

advocated for fair rulemaking for the H-2B visa program for many years. Several of

OABA members regularly provide carnival rides to events in the Southern District of

Texas. As of January 17, 2025, OABA members are required to comply with the Final

Rule including its attendant compliance cost burden and strict liability for actions

occurring within and without membership power to control.

      11.    Plaintiff NCAE is a 501(c)(6) nonprofit national trade association

headquartered in Washington, D.C., focusing exclusively on agricultural labor issues

from the employer’s viewpoint, to include the H-2A Program. NCAE represents

approximately 80% of U.S. farm and ranch employers, as well as their agents and

trade associations. NCAE also represents about 90% of the farm and ranch families



                                          5
   Case 3:25-cv-00014     Document 1     Filed on 01/19/25 in TXSD    Page 7 of 22




presently utilizing the H-2A Temporary Agricultural Worker Visa Program,

including members in the Southern District of Texas. NCAE is a leading public policy

advocate for agricultural employers and has a longstanding interest in educating its

membership and the community regarding employment and labor matters. As of

January 17, 2025, NCAE members are required to comply with the Final Rule

including its attendant compliance cost burden and strict liability for actions

occurring within and without membership power to control.

      12.    Defendant DHS is a federal government agency within the meaning of

5 U.S.C. § 552(f)(1). See 5 U.S.C. § 551(1). DHS is entrusted with enforcement of the

Immigration and Nationality Act (“INA”) and is the parent of Defendant USCIS.

      13.    Defendant Alejandro N. Mayorkas is the Secretary of Homeland

Security and he signed the Final Rule. He is sued in his official capacity.

      14.    Defendant USCIS is a federal government agency within the meaning

of 5 U.S.C. § 552(f)(1) and has been delegated authority by the Secretary of Homeland

Security to process H-2A and H-2B non-immigrant petitions.           In addition, the

Secretary of Homeland Security has delegated his authority to enforce certain

provisions of the INA pertaining to the H-2A and H-2B non-immigrant visa programs

and subject to the Final Rule.

      15.    Defendant Ur Mendoza Jaddou is the Director of USCIS and is charged

with its management. Director Jaddou is accordingly responsible for the enforcement

and operational provisions of the Final Rule. She is sued in her official capacity.




                                          6
   Case 3:25-cv-00014      Document 1      Filed on 01/19/25 in TXSD      Page 8 of 22




                           JURISDICTION AND VENUE

       16.    This action arises under Administrative Procedure Act (“APA”), 5 U.S.C.

§§ 551, 553, and the INA, 8 U.S.C. §§ 1101, 1103, 1184, 1188.             This Court has

jurisdiction under 5 U.S.C. §§ 701–06. Jurisdiction in this Court is further grounded

upon and proper under 28 U.S.C. § 1331, in that this civil action arises under the

laws of the United States; 28 U.S.C. § 1346, in that this case involves claims against

the federal government; 28 U.S.C. § 1361, in Defendants should be compelled to

perform a duty owed to Plaintiffs; and 28 U.S.C. §§ 2201–02, in that there exists an

actual justiciable controversy as to which Plaintiffs require a declaration of their

rights by this Court and an order vacating the Final Rule under 5 U.S.C. § 706(2) and

an award costs and counsel fees pursuant to 28 U.S.C. § 2412.

       17.    Venue is proper in this Court under 28 U.S.C. § 1391(e). This action is

brought against officers and agencies of the United States and there is no real

property involved.     Venue is also proper under 28 U.S.C. § 1391(b)–(c) because

Plaintiff FEWA resides in and has its principal place of business in this judicial

district and this division, and a substantial part of the events or omissions giving rise

to this action occurred in this judicial district and division. In addition, all Plaintiffs

have membership that are situated in or work within this judicial district and

division.

                                STATEMENT OF LAW

       18.    Among other policy reasons, Congress enacted the INA and its

subsequent amendments to regulate and control the process of admitting temporary



                                            7
   Case 3:25-cv-00014      Document 1     Filed on 01/19/25 in TXSD    Page 9 of 22




foreign workers to the United States to perform temporary labor or services. 8 U.S.C.

§ 1101(a)(15)(H)(ii); see also 8 U.S.C. §§ 1184(c)(1), 1188.

      19.    The INA charged the Attorney General with the determination of

admitting non-citizens into the United States and subsequently the Homeland

Security Act of 2002 (“HSA”) transferred that authority to the Secretary of Homeland

Security and created DHS. See HSA, Pub. L. No. 107-296, 116 Stat. 2135.

      20.    DHS further attempts to rely on section 101 of the HSA to claim that it

is charged with the general “economic security” of the United States, however in

context of the entire section, this “economic security” is not to be diminished by “by

efforts, activities, and programs aimed at securing the homeland.” See 89 Fed. Reg.

at 103203.   See also HSA, 6 U.S.C. § 111(b)(1) (describing the purpose of DHS

primarily to counteract terrorist activity in the United States).

                     Impermissible Retroactive Rulemaking

      21.    The HSA charges DHS with “[e]stablishing and administering rules . . .

governing the granting of visas . . . to enter the United States to individuals who are

not a citizen or an alien lawfully admitted for permanent residence in the United

States.” 6 U.S.C. § 202(4).

      22.    However, this authority does not vest in DHS the ability to make

retroactive rules that are contrary to established law.        “[A] statutory grant of

legislative rulemaking authority will not, as a general matter, be understood to

encompass the power to promulgate retroactive rules unless that power is conveyed




                                            8
  Case 3:25-cv-00014      Document 1     Filed on 01/19/25 in TXSD     Page 10 of 22




by Congress in express terms.” Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208,

(1988).

      23.    “New regulations . . . have an impermissible retroactive effect where

their application would impair rights a party possessed when he acted, increase a

party’s liability for past conduct, or impose new duties with respect to transactions

already completed.” United States v. Gutierrez, 443 F. App’x 898, 905–06 (5th Cir.

2011) (internal quotation marks and citations omitted) (citing Handley v. Chapman,

587 F.3d 273, 283 (5th Cir. 2009)).

      24.    DHS Final Rule is retroactive because it allows DHS to deny H-2 visa

petitions of employers that have been administratively or judicially adjudicated to

have violated any federal, state, or local “employment-related law” for up to three

years prior to the Rule taking effect. 89 Fed. Reg. at 103333.

      25.    Often, employers who are dealing with these labor law enforcement

agencies decide for financial or other reasons (such as ending the time consuming and

emotional toll of an ongoing dispute with the government) to settle with the agency

and accept a negative adjudication instead of continuing to fight. What is at issue

are often minor violations resulting in no harm to H-2 workers, as evidenced by

scarcity of employers debarred from the H-2 programs compared to the number of

employers that use the H-2 visa programs. However, the Final Rule says DHS now

may deny H-2 visa petitions based on these past acts prior to the Rule’s effective date,

effectively punishing an employer for a rational economic decision to settle instead of

expending significant resources to fight an adjudication when the employer had no



                                           9
   Case 3:25-cv-00014     Document 1      Filed on 01/19/25 in TXSD    Page 11 of 22




knowledge or anticipation that DHS would promulgate this Final Rule. Congress

through the HSA did not give DHS the authority to make a retroactive rule and thus

the action is ultra vires, short of statutory right, and arbitrary and capricious. Cf. El

Paso Elec. Co. v. FERC, 76 F.4th 352, 366 (5th Cir. 2023) (a “wait-and-see suggestion

confuses adjudication—which is retroactive . . .—with rulemaking, which is of only

future effect.”).

  Impermissibly Vague Rulemaking as to Discretionary Denials for Labor
                           Law Violations

       26.    The Final Rule is also impermissibly vague and thus arbitrary and

capricious for that reason standing alone. The Final Rule says USCIS “may” deny an

H-2 petition if there is “[a]ny final administrative or judicial determination . . . that

the petitioner violated any applicable employment-related laws or regulations,

including health and safety laws or regulations.” 89 Fed. Reg. at 103333 (emphasis

added).

       27.    But DHS has failed to define what it thinks is an “employment-related

law” (probably because it doesn’t even know—it’s not a labor enforcement agency),

thus giving no notice to ordinary members of Plaintiffs’ organizations as to what

underlying conduct “may” cause USCIS to deny a petition. On information and belief,

there are tens of thousands of potentially overlapping “employment-related laws”

promulgated by the federal government, the States, and municipalities spanning

myriad issues such as employee classification, prompt payment, pay transparency,

rest and meal breaks, improper discrimination, expense reimbursement, and so on.

DHS is not permitted to vaguely say “any” violation of “any” wholly undefined body


                                           10
  Case 3:25-cv-00014        Document 1   Filed on 01/19/25 in TXSD    Page 12 of 22




of laws may inhibit employer participation in the H-2 programs. That is a violation

of Plaintiffs’ due process rights and arbitrary and capricious.

             It is a basic principle of due process that an enactment is
             void for vagueness if its prohibitions are not clearly
             defined. Vague laws offend several important values.
             First, because we assume that man is free to steer between
             lawful and unlawful conduct, we insist that laws give the
             person of ordinary intelligence a reasonable opportunity to
             know what is prohibited, so that he may act accordingly.
             Vague laws may trap the innocent by not providing fair
             warning.      Second, if arbitrary and discriminatory
             enforcement is to be prevented, laws must provide explicit
             standards for those who apply them. A vague law
             impermissibly delegates basic policy matters to policemen,
             judges, and juries for resolution on an ad hoc and subjective
             basis, with the attendant dangers of arbitrary and
             discriminatory application.

Grayned v. City of Rockford, 408 U.S. 104, 108–09 (1972). 2

      28.    Further, the discretion DHS awarded itself under the Final Rule to deny

a petition based on “any” violation of any “employment-related law” is then rested on

a subjective eight-factor non-exclusive test that is hopelessly vague and opaque. 89

Fed. Reg. at 103333. (“USCIS will consider all relevant factors, including, but not

limited to . . . .”). For these reasons the Final Rule is “impermissibly vague” and

arbitrary and capricious.

             Moreover, the Court finds that the standards set forth in
             the Final Rule are impermissibly vague. . . . the Final Rule
             vests the ATF with complete discretion to use a subjective
             balancing test to weigh six opaque factors on an invisible
             scale. Consequently, the Court finds that the Final Rule’s

2 Defendants attempt to shore up this clear APA violation by saying they will consider

a subsequent rulemaking (“additional policy guidance related to this provision,” 89
Fed. Reg. at 103256).        That is unacceptable.       “[A]gencies cannot play the
administrative law shell-game of offering future rulemaking as a response to a claim
of agency illegality.” El Paso Elec. Co., 76 F.4th at 366 (cleaned up).
                                          11
  Case 3:25-cv-00014     Document 1      Filed on 01/19/25 in TXSD    Page 13 of 22




             six factor test is so impermissibly vague that it provides no
             meaningful       clarity   about   what     constitutes    an
             impermissible stabilizing brace, and, thus, that it is nigh
             impossible for a regular citizen to determine what
             constitutes a braced pistol that requires NFA registration.

Mock v. Garland, No. 4:23-cv-00095, 2024 U.S. Dist. LEXIS 105230 at *14 (N.D. Tex.

June 13, 2024) (cleaned up).

   Impermissibly Vague Rulemaking as to Denials Based on Illegal Fees

      29.    As with the vagueness of the discretionary denial provisions for labor

law violations, the Final Rule is impermissibly vague in defining the “due diligence”

required of employer-petitioners in determining if impermissible fees have been paid

by H-2 workers during the recruitment process. 89 Fed. Reg. at 103211.

      30.    The Final Rule says that the petitioner must “demonstrate ‘ongoing,

good faith, reasonable efforts to prevent and learn of the prohibited fee collection or

agreement by such third parties throughout the recruitment, hiring, and employment

process.’” Id. However, the Rule fails to explain what “ongoing, good faith, reasonable

efforts” are—and though that term is found 42 times throughout the Rule it never

clearly says how employers can demonstrate “ongoing, good faith, reasonable efforts.”

      31.    To make matters worse, DHS expects employers to use “ongoing, good

faith, reasonable efforts” for the entire recruitment chain and even defines who is

included in that recruitment chain to include “recruitment or employment services

offered by private, nongovernmental individuals and entities, quasi-governmental

entities (such as private entities working jointly with ministries of labor), and

governmental entities (such as ministries of labor).” 89 Fed. Reg. at 103228.



                                          12
  Case 3:25-cv-00014     Document 1     Filed on 01/19/25 in TXSD   Page 14 of 22




      32.    This is troubling given that Plaintiffs NCAE and SEA have received

reports that U.S. Government sponsored recruitment services, through the Ministry

of Labor in Guatemala, have been found by the government of Guatemala to charge

fees for their recruitment services. See Exhibit A, hereto.

      33.    Under the Final Rule, employers that utilized the Ministry of Labor in

Guatemala could face denials of H-2 petitions across the board because individuals

within the Government of Guatemala charged recruitment fees. This is a service that

is subsidized by the U.S. Agency for International Development (“USAID”) and highly

touted by USAID as a reputable way to recruit workers from Guatemala, El Salvador,

and Honduras. See Exhibit B, hereto.

      34.    The Final Rule is not vague as to who in the recruitment chain can make

an employer liable for fees charged but leaves employers with no information as to

how to provide evidence to DHS of “ongoing, good faith, reasonable efforts” to

ascertain if fees have been paid, especially in the case of U.S. Government sponsored

recruitment programs in Guatemala, Honduras, and El Salvador.

      35.    The Final Rule then outlines that employers who have workers that

have paid fees, or even claimed to have paid fees, the employer must reimburse those

fees and then prove to DHS the “ongoing, good faith, reasonable efforts” to ensure

fees are not paid and then prove extraordinary circumstances as to why fees were

paid otherwise DHS will deny the employer’s H-2 petition. 89 Fed. Reg. at 103211.




                                         13
  Case 3:25-cv-00014     Document 1     Filed on 01/19/25 in TXSD    Page 15 of 22




                   Violation of the Congressional Review Act

      36.    The Final Rule also violated the Congressional Review Act (“CRA”). The

CRA prohibits the government from adopting a “new rule that is substantially the

same” as one disapproved by Congress and that therefore did not “take effect.” 5

U.S.C. § 801(b).

      37.    In 2017, Congress disapproved and prevented from taking effect the

Obama Administration’s final governmentwide rule Fair Play and Safe Workplaces,

which was otherwise known as the “blacklisting” rule. H.R.J. Res. 37, 115th Cong.

That rule would have required federal contractors to disclose adverse findings with

respect to their compliance with federal and state labor and employment laws, and

would have permitted federal agencies to deny contracts to employers who lacked, in

their view, a satisfactory record of compliance. 81 Fed. Reg. 58562 (Aug. 25, 2016).

The Biden Administration’s Final Rule here is “substantially the same” as the

“blacklisting” rule there insofar as it permits DHS to blacklist employers from

participating in the H-2 program. 89 Fed. Reg. at 103332–33. The Rule requires

employers to disclose violations of federal, state, and local labor laws and permits

USCIS to deny participation in the H-2 programs to those employers it deems—at its

whim—to be insufficiently compliant.      See 8 CFR § 214.2(h)(10)(iv)(B); see also

Exhibit C at 16–17, and Exhibit D at 17, hereto. The Biden Administration in its

waning days dusted off the Obama Administration’s disapproved blacklisting rule

and just applied it to a new subset of the American public it disfavored.




                                         14
  Case 3:25-cv-00014      Document 1      Filed on 01/19/25 in TXSD     Page 16 of 22




      38.    Plaintiffs now seek vacatur and declaratory relief, as well as costs and

attorney fees, and any other relief that may be just and proper.

                                      STANDING

      39.    To establish standing under Lujan v. Defenders of Wildlife, 504 U.S. 555,

560–61 (1992), Plaintiffs must show (1) injury in fact, (2) causation, and (3)

redressability. A plaintiff “need only show that a favorable ruling could potentially

lessen its injury; it need not definitively demonstrate that a victory would completely

remedy the harm.” Sanchez v. R.G.L., 761 F.3d 495, 506 (5th Cir. 2014) (internal

quotation marks omitted); see Bennett v. Donovan, 703 F.3d 582, 589 (D.C. Cir. 2013)

(“The relevant question for standing, however, is not whether relief is certain, but

only whether it is likely, as opposed to merely speculative.”).

      40.    Plaintiffs bring this action on behalf of their members. The interests

Plaintiffs seeks to protect are germane to their organizational purpose, and neither

the claims nor the relief requested require the participation of individual members;

although some, if not all, of Plaintiffs’ members would otherwise have standing to sue

because they will suffer concrete injury if the illegal Final Rule is not set aside in the

sense, inter alia, that each will have to endure extensive compliance costs to meet the

strict liability requirements for fees paid by H-2 workers in the recruitment process

of the Final Rule and will incur additional costs and time when filing H-2 petitions to

attempt to comply with the new reporting requirements of “employment-related law”

violations (including trying to figure out what laws are included) and responding to

any attempt by Defendants to blacklist them from participation in the H-2 programs.



                                           15
  Case 3:25-cv-00014      Document 1      Filed on 01/19/25 in TXSD    Page 17 of 22




In addition, the Final Rule violates Plaintiffs’ members’ due process rights to the

extent it is impermissibly vague and impermissibly retroactive as discussed herein.

      41.    Plaintiffs’ members include small and seasonal business across the

United States that utilize the H-2 visa programs, farmers and ranchers, Farm Labor

Contractors, H-2 filing agents, other trade associations, and attorneys who help users

of the H-2 program to navigate the already overly bureaucratic H-2 programs.

      42.    Plaintiffs’ injuries would be redressed by vacatur of the Final Rule and

declaratory relief that Defendants’ Final Rule is ultra vires, arbitrary and capricious,

contrary to constitutional right, power, privilege, or immunity, and in excess of

statutory jurisdiction, authority, or limitations, or short of statutory right because it

is violative of the CRA, impermissibly vague on two counts, and impermissibly

retroactive in effect. 5. U.S.C. § 706(2)(A)–(C).

                               CLAIMS FOR RELIEF

                                    COUNT I
              VIOLATION OF THE CONGRESSIONAL REVIEW ACT
                   Substantially the Same as Disapproved Rule

      43.     Plaintiffs incorporate by reference the foregoing Paragraphs of this

Complaint as if fully set forth herein.

      44.    The CRA prohibits the government from adopting a “new rule that is

substantially the same” as one disapproved by Congress and that therefore did not

“take effect.” 5 U.S.C. § 801(b).

      45.    The Final Rule is “substantially the same” as the governmentwide

blacklisting rule adopted by the Obama Administration and disapproved by Congress



                                           16
  Case 3:25-cv-00014      Document 1      Filed on 01/19/25 in TXSD   Page 18 of 22




and prevented from taking effect in 2017. H.R.J. Res. 37, 115th Cong.; 81 Fed. Reg.

58562 (Aug. 25, 2016).

      46.    The CRA is an amendment to and part of the APA. The Final Rule

should be held unlawful and set aside pursuant to the APA’s judicial review

provisions because it is “arbitrary, capricious, and abuse of discretion, or otherwise

not in accordance with law” and “in excess of statutory jurisdiction, authority, or

limitations, or short of statutory right[.]” 5 U.S.C. § 706(2).

                                COUNT II
            VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
                         Impermissible Retroactivity

      47.     Plaintiffs incorporate by reference the foregoing Paragraphs of this

Complaint as if fully set forth herein.

      48.    “New regulations . . . have an impermissible retroactive effect where

their application would impair rights a party possessed when he acted, increase a

party’s liability for past conduct, or impose new duties with respect to transactions

already completed.” Gutierrez, 443 F. App’x at 905–06.

      49.    The Final Rule includes a three year look back period beginning on

January 17, 2025, requiring employers to report any prior labor law violation. See

Ex. C at 16–17, and Ex. D at 17.

      50.    This includes employers that decided to settle investigations for

financial or other burden reasons instead of spending significant resources to fight a

minor violation.




                                           17
  Case 3:25-cv-00014        Document 1    Filed on 01/19/25 in TXSD   Page 19 of 22




      51.    This lookback period creates an impermissible retroactive rule, as

employers had no indication that USCIS at some point in the future would make

determinations to deny H-2 petitions based on prior activity that must now be

reported in the petition.

      52.    This retroactivity is, therefore, an “agency action” that is fundamentally

and without question “arbitrary, capricious, an abuse of discretion or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A).

                                  COUNT III
         VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
  Impermissible Vagueness as to Denials for Employment-Related Law Violations

      53.     Plaintiffs incorporate by reference the foregoing Paragraphs of this

Complaint as if fully set forth herein.

      54.    “A law is unconstitutionally vague when it (1) fails to provide a person

of ordinary intelligence a reasonable opportunity to know what is prohibited, so that

he may act accordingly or (2) fails to provide explicit standards for applying the law

to avoid arbitrary and discriminatory applications.” Woodlands Pride, Inc. v. Paxton,

694 F. Supp. 3d 820, 849 (S.D. Tex. 2023) (cleaned up).

      55.    The Final Rule is so vague as to the definition of “[a]ny final

administrative or judicial determination . . . that the petitioner violated any

applicable employment-related laws or regulations, including health and safety laws

or regulations.” 89 Fed. Reg. at 103333 (emphasis added).

      56.    Plaintiffs in the comments to the Notice of Proposed Rulemaking

(“NPRM”) raised this issue of vagueness. DHS in the Final Rule ignored those



                                           18
  Case 3:25-cv-00014      Document 1      Filed on 01/19/25 in TXSD   Page 20 of 22




comments and left the procedure of denying H-2 petitions in an unworkable grey area

allowing DHS extreme latitude to decide when an employer should be blacklisted

from the H-2 programs.

      57.     The lack of definition of what are labor law violations and nebulous

procedure for denying an H-2 petition under this provision is, therefore, an “agency

action” that is fundamentally and without question “arbitrary, capricious, an abuse

of discretion or otherwise not in accordance with law.” 5 U.S.C § 706(2)(A).

                                   COUNT IV
            VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
            Impermissible Vagueness as to Denials for Impermissible Fees

      58.     Plaintiffs incorporate by reference the foregoing Paragraphs of this

Complaint as if fully set forth herein.

      59.     “A law is unconstitutionally vague when it (1) fails to provide a person

of ordinary intelligence a reasonable opportunity to know what is prohibited, so that

he may act accordingly or (2) fails to provide explicit standards for applying the law

"to avoid arbitrary and discriminatory applications.” Woodlands Pride, 694 F. Supp.

3d at 849 (internal quotation marks omitted).

      60.     The Final Rule is impermissibly vague as to the definition of what is

considered “demonstrat[ing] ‘ongoing, good faith, reasonable efforts to prevent and

learn of the prohibited fee collection or agreement by such third parties throughout

the recruitment, hiring, and employment process.’”

      61.     Plaintiffs in the comments to the NPRM raised this issue of vagueness.

DHS in the Final Rule ignored those comments and left the procedure of denying H-



                                           19
  Case 3:25-cv-00014      Document 1     Filed on 01/19/25 in TXSD     Page 21 of 22




2 petitions in an unworkable grey area allowing DHS extreme latitude in determining

when an employer does or does not demonstrate ongoing, good faith, reasonable

efforts to prevent and learn of the prohibited fee collection or agreement by such third

parties throughout the recruitment, hiring, and employment process.

      62.    The vague definition of “ongoing, good faith, reasonable efforts” and

procedure for denying and H-2 petition under this provision is, therefore, an “agency

action” that is fundamentally and without question “arbitrary, capricious, an abuse

of discretion or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A).

                              PRAYER FOR RELIEF

WHEREFORE Plaintiffs pray that this Court:

      A.     Declare that the Final Rule violates the APA because it is impermissibly

vague and retroactive;

      B.     Declare that the Final Rule violates the CRA because it is substantially

the same as a prior Congressionally disapproved governmentwide rule;

      C.     Vacate the Final Rule in whole as an ultra vires action or otherwise

because it does not comply with the requirements of the APA (including the CRA);

      D.     Permanently enjoin Defendants from enforcing the Final Rule;

      E.     Award Plaintiffs their costs and expenses, including reasonable

attorneys’ fees, whether under the Equal Access to Justice Act, 28 U.S.C. § 2412, or

otherwise; and

      F.     Award such further and additional relief as is just and proper.




                                          20
  Case 3:25-cv-00014   Document 1   Filed on 01/19/25 in TXSD   Page 22 of 22




                                    Respectfully submitted,

January 19, 2025                    /s/ David R. Dorey
                                    David R. Dorey, attorney-in-charge
                                    Washington D.C. Bar No. 1015586
                                    S.D. Tex. Bar No. 3905240
                                    LIFF, WALSH & SIMMONS
                                    181 Harry S. Truman Parkway, Suite 200
                                    Annapolis, Maryland 21401
                                    Phone: (410) 266-9500
                                    Email: ddorey@liffwalsh.com

                                    Shawn M. Packer (pro hac vice forthcoming)
                                    Fla. Bar No. 90485
                                    JPH LAW FIRM
                                    733 10th Street, NW, Suite 900
                                    Washington, DC 20001
                                    Phone: (202) 629-9310
                                    Email: spacker@jphlawfirm.com

                                    Counsel for Plaintiffs




                                      21
